Case 3:08-cr-30254-JPG          Document 32        Filed 01/07/09      Page 1 of 1      Page ID #65




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
       vs.                                        )    CRIMINAL NO. 08-30254-05-JPG
                                                  )
GENESIS M. EFFINGER,                              )
                                                  )
                       Defendant.                 )

                    ORDER MODIFYING CONDITIONS OF RELEASE

PROUD, Magistrate Judge:

       Defendant Genesis Effinger, represented by counsel, made her initial appearance in this

district and was arraigned on January 7, 2009. The defendant had initially appeared in the

Northern District of Illinois and was released on bond and removed to the Southern District of

Illinois. After consultation with the Pretrial Services Office in this district, defendant Effinger’s

conditions of release are modified as follows:

       1.      Defendant’s travel is restricted to the State of Illinois; and

       2.      Defendant shall not tamper with drug testing, but the condition that she not

               tamper with electronic monitoring (“EM”) is removed, as are the requirements

               that she be placed on EM and have a curfew.

                          All other conditions of release remain in effect.

       IT IS SO ORDERED.

       DATED: January 7, 2009

                                                       s/ Clifford J. Proud
                                                       CLIFFORD J. PROUD
                                                       U. S. MAGISTRATE JUDGE
